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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

DONNA CAVE, JUDITH LANSKY,                                                       PLAINTIFFS
PAT PIAZZA, and SUSAN RUSSELL

ANNE ORSI, AMERICAN HUMANIST                               CONSOLIDATED PLAINTIFFS
ASSOCIATION, FREEDOM FROM
RELIGION FOUNDATION, INC.,
ARKANSAS SOCIETY OF FREETHINKERS,
JOAN DIETZ, GALE STEWART, RABBI
EUGENE LEVY, REV. VICTOR H. NIXON,
TERESA GRIDER, and WALTER RIDDICK

THE SATANIC TEMPLE, DOUG MISICKO                                             INTERVENORS
aka “LUCIEN GREAVES,” and ERIKA
ROBBINS

v.                              No. 4:18CV00342 KGB/BD

JOHN THURSTON, Arkansas Secretary of State,
in his official capacity                                                        DEFENDANT

      DEFENDANT’S FIRST SET OF INTERROGATORIES AND REQUESTS
       FOR PRODUCTION OF DOCUMENTS TO THE SATANIC TEMPLE

       Defendant, Secretary of State John Thurston, in his official capacity, through

counsel, propound the following interrogatories and requests for production to the Satanic

Temple to be answered in the time and manner prescribed by the Federal Rules of Civil

Procedure.

                                        *      *       *

       Please note that in what follows, a pair or list of items using “or” shall be read

inclusively such that “x, y, or z” shall be understood to mean “x or y or z or some of the

preceding or all of the preceding.”

       INTERROGATORY NO. 1: Please state the Satanic Temple’s full legal name; all

names and aliases used by the Satanic Temple or by which the Satanic Temple has been
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known at any time; the Satanic Temple’s legal entity type and all dates of any current or

former incorporation or legal creation, specifying all states under whose laws the Satanic

Temple has existed at any time; the full legal name and title of each current and former

employee, officer, director, manager, board member, advisory member, or person or entity

holding any other position of responsibility or leadership, whether compensated or not.

       REQUEST FOR PRODUCTION NO. 1: Please produce copies of all current and

former articles of incorporation or analogous documents filed with any state evincing the

Satanic Temple’s creation as a corporate entity; and copies of all current and former bylaws,

operating agreements, or analogous documents.

       INTERROGATORY NO. 2: Please identify all persons or entities in whose name(s)

each of the following domains has been registered at any time, and identify all persons or

entities that have produced, published, or maintained any content accessible from that

domain at any time: http://www.thesatanictemple.com, https://afterschoolsatan.com/,

https://religiousreproductiverights.com/, https://protectchildrenproject.com/,

https://greyfaction.org/, http://dougmesner.com/, http://www.process.org,

http://www.westboro-baptists.com, and https://salemartgallery.com/.

       REQUEST FOR PRODUCTION NO. 2: Please produce a copy of the Satanic

Temple’s year-end budgets for the years 2015, 2016, 2017, and 2018, and a copy of the

Satanic Temple’s current operating budget. Include in each budget, among other things, the

Satanic Temple’s sources of income, liabilities, categorized expenditures, and recipients of

the Satanic Temple’s tax-exempt contributions.

       REQUEST FOR PRODUCTION NO. 3: Please produce a copy of the Satanic

Temple’s state and federal tax returns for 2015, 2016, 2017, and 2018.


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       INTERROGATORY NO. 3: Please identify the Satanic Temple’s current and any

former tax status (e.g., taxable, tax exempt, etc.) with both its state of incorporation and the

Internal Revenue Service, and identify all records relating to those statuses, including

among other things, application materials, completed forms, correspondence, etc. Please

specifically identify any records that recognize the Satanic Temple as a “church” or religious

organization.

       REQUEST FOR PRODUCTION NO. 4: Please produce a copy of all records

identified in your response to the previous interrogatory.

       INTERROGATORY NO. 4: Please identify all persons or entities that have

received proceeds from purchases made through the Satanic Temple’s website as well as

from contributions made through each of the following webpages: https://thesatanic

temple.com/collections/contribute-to-the-satanic-temple-campaigns/products/donate-to-

the-satanic-temple, https://thesatanictemple.com/products/after-school-satan-campaign,

https://thesatanictemple.com/collections/contribute-to-the-satanic-temple-campaigns/

products/support-grey-faction, https://thesatanictemple.com/collections/contribute-to-the-

satanic-temple-campaigns/products/protect-children-project, https://religious

reproductiverights.com/lawsuit-status/donate-to-religious-reproductive-rights,

http://www.indiegogo.com/projects/put-a-satanic-monument-at-ok-capitol/,

https://www.indiegogo.com/projects/the-satanic-temple-adopt-a-highway-campaign,

https://www.generosity.com/memorial-fundraising/the-satanic-temple-veterans-

monument.




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          INTERROGATORY NO. 5: Please identify all persons or entities that received the

proceeds when contributions were made through the “Bring Baphomet to Arkansas!”

website, accessible at https://www.flipcause.com/secure/cause pdetails/Mzg4NTY=.

          REQUEST FOR PRODUCTION NO. 5: Please produce a copy of all records

showing all proceeds from contributions made through the “Bring Baphomet to Arkansas!”

website received by the persons or entities identified in response to the previous

interrogatory.

          INTERROGATOY NO. 6: Please identify what dollar amount of the proceeds

received through the “Bring Baphomet to Arkansas!” website was used to pay for or offset

the costs of taking the Baphomet statue to the Arkansas state capitol for the rally on or

about August 16, 2018.

          REQUEST FOR PRODUCTION NO. 6: Please produce a copy of all records

showing the use of the proceeds received through the “Bring Baphomet to Arkansas!”

website to pay for or offset the costs of taking the Baphomet statue to the Arkansas state

capitol for the rally on or about August 16, 2018.

          INTERROGATORY NO. 7: Please identify all persons or entities that were

involved in, or paid costs associated with, the design, construction, or modification of the

Baphomet statue as well as all persons or entities that have a legal or equitable interest in the

statue.

          REQUEST FOR PRODUCTION NO. 7: Please produce a copy of all records

showing the legal or equitable interests in the Baphomet statute of the persons or entities

identified in the previous interrogatory.




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       INTERROGATORY NO. 8: Please explain the various symbolic elements or

aspects of the Baphomet monument, specifying the inspiration, significance, or meaning of

each element or aspect.

       REQUEST FOR PRODUCTION NO. 8: Please produce copies of all videos and

photographs created by or for the Satanic Temple (or by or for any person currently or

formerly associated with the Satanic Temple), related to the rally in support of Rick Scott on

or about January 25, 2013; the “pink mass” in or around Meridian, Mississippi, on or about

July 2013; the installation of the second Ten Commandments monument on the Arkansas

state capitol grounds on or about April 26, 2018; and the “rally for religious liberty” on the

Arkansas state capitol grounds on or about August 16, 2018.

       REQUEST FOR PRODUCTION NO. 9: Please produce copies of all videos or

promotional materials created or used to publicize or promote the After School Satan Club.

       INTERROGATORY NO. 9: Please identify all legal and financial relationships the

Satanic Temple has had at any time with Doug Misicko, Cevin Soling, United Federation of

Churches, LLC; Reason Alliance, Ltd; The Alliance for Self-Directed Education, Inc;

Alliance for Integrity and Justice Ltd.; and Spectacle Films.

       INTERROGATORY NO. 10: Please identify every lawsuit or legal proceeding of

whatever kind to which the Satanic Temple has been a party since 2013, whether civil or

criminal, specifying the court, the court’s location and jurisdiction, the case number, the

filing date, every claim made or charge brought by or against the Satanic Temple (whether

or not dismissed, etc.), and the outcome of the proceeding.




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       REQUEST FOR PRODUCTION NO. 10: Please produce a copy of all tenets or

statements of belief that the Satanic Temple holds as in some manner authoritative or as

completely or substantially expressing the commitments of its members or leadership.

                                          Respectfully submitted,

                                          LESLIE RUTLEDGE
                                          Attorney General

                                          /s/ Michael A. Cantrell
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                                           Solicitor General of Arkansas
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                                          Attorneys for Secretary of State John Thurston

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                                  CERTIFICATE OF SERVICE

       I, Michael A. Cantrell, hereby certify that on June 21, 2019, I served the foregoing by
email to the following:

Andrew Schultz
aschultz@rodey.com
Attorney for Plaintiffs

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                                           /s/ Michael A. Cantrell
                                           Michael A. Cantrell




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